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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION


JEFFERY PAUL MARCUM                                                                PLAINTIFF

VERSUS                                            CIVIL ACTION NO. 3:22cv695-KHJ-MTP

LAUGHTERDALE COUNTY SHERIFF’S
OFFICE                                                                           DEFENDANT


                              ORDER ADDING DEFENDANT

       BEFORE THE COURT is pro se Plaintiff Jeffery Paul Marcum’s Response [13]. He is a

pretrial detainee with the Lauderdale County Detention Facility, and he challenges the conditions

of his confinement. The Response clarifies that he is also suing Dylan Anderson. The Clerk of

Court shall add him to the docket.

       IT IS THEREFORE ORDERED that the Clerk of Court shall add Dylan Anderson as a

Defendant herein.

       SO ORDERED, this the 5th day of May, 2023.

                                            s/ Michael T. Parker
                                            UNITED STATES MAGISTRATE JUDGE
